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                                                                         U.S. DISTRJCT COURT
                            IN THE UNITED STATES DISTRICT c<NQ~'fHERNDISTRICTOFTEXAS
                                NORTHERN DISTRICT OF TE AS
                                   FORT WORTH DIVISION                   cl . . · · ·
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Elston Nationwide                               s
                                                '§                 CLERK, U.S. DISlK1\.. ! uA:iff
                                                                   By~=---,=-~~~~
               Plaintiff,                       §                               Deputy
                                                §
vs.                                             §    NO. 4:17-cv-792-A

Call US Logistics Inc,                          §
                                                §
               Defendant.                       §


                               ORDER UNFILING DOCUMENT(S)

       The court has determined the following defect(s) in the fonn of the document(s) filed
10/13/17, by Plaintiff, titled Certificate of Service (doc. 7):



                This case is not designated for electronic filing. All documents should be
                filed in traditional paper form, bearing the original signature of the filer.
                Also see the standing order docketed in this action on      October 2
                ------'----~' 201      7


        Because of such defect(s), the court has determined that the document(s) indicated above
should be untiled from the record of this action. Therefore, the comi ORDERS that such
document(s) be, and is hereby, untiled, and the Clerk is directed to note on the docket the
untiling of such document(s .

       SIGNED    ----'---""--J_.__/_fo
                                   ___ ,201-l-.
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